                         UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                              WILKES-BARRE DIVISION

  In re:                                                        Bankruptcy No. 5:20-bk-00301-MJC
  Deborah J. Sinatra
  dba Deborah Sinatra Interiors,                                Chapter 13
         Debtor.
                                                                Related Doc.: 30, 32

  Wilmington Savings Fund Society, FSB, d/b/a Christiana
  Trust, not individually but as trustee for Pretium
  Mortgage Acquisition Trust,
        Movant,
  V.
  Deborah J. Sinatra
  dba Deborah Sinatra Interiors, and
  Jack N Zaharopoulos, Trustee,
        Respondents.

                             ORDER VACATING AUTOMATIC STAY

        Upon consideration of Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust,

not individually but as trustee for Pretium Mortgage Acquisition Trust's Certification of

Default of Stipulation Resolving Motion for Relief from Stay, it is hereby

        ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy

Code are hereby unconditionally terminated with respect to Wilmington Savings Fund Society,

FSB, d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage Acquisition

Trust; and it is further

        ORDERED,           that   Wilmington   Savings   Fund    Society,    FSB,      d/b/a   Christiana

Trust, not individually but as trustee for Pretium Mortgage Acquisition Trust, its successors

and/or assignees be entitled to proceed with appropriate state court remedies against the

property located at 2384 Golf Drive, Mountain Home, PA 18342, including without limitation a




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sheriff’s sale of the property, and it is further

        ORDERED, that Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust,

not individually but as trustee for Pretium Mortgage Acquisition Trust’s request to waive the

14-day stay period pursuant to Fed.R.Bankr.P. 4001(a)(3) is granted.




                                                    By the Court,



                                                    _____________________________
                                                    Mark J. Conway, Bankruptcy Judge
                                                    Dated: August 8, 2022




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